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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                          Miami Division

                                       CASE NO. 19-CV-22702-KMW

   CORI ANN GINSBERG, NOAH MALGERI,
   KALYN WOLF, BILL WILSON, SHANNON
   HOOD, ERIC FISHON and ROBERT
   MCKEOWN, on behalf of themselves and all
   others similarly situated,

          Plaintiffs,

   v.

   VITAMINS BECAUSE LLC, CT HEALTH
   SOLUTIONS LLC, GMAX CENTRAL LLC,
   ASQUARED BRANDS LLC, INSPIRE NOW
   PTY LTD d/b/a BoostCeuticals, HEALTHY
   WAY RX LLC, KHAKIWARE INC, and
   JOLLY DOLLAR SUPPLY COMPANY, LLC

         Defendants.
   _____________________________________/

               JOINT STIPULATION FOR DISMISSAL WITHOUT PREJUDICE

          Defendant/Cross-Plaintiff, JOLLY DOLLAR SUPPLY COMPANY, LLC, and Cross-

   Defendants, VITAMINS BECAUSE, LLC and CT HEALTH SOLUTIONS, LLC, by and through

   undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(2), hereby jointly stipulate and agree

   to dismiss without prejudice all the claims asserted by Cross-Plaintiff Jolly Dollar Supply

   Company, LLC in this action against Cross-Defendants, Vitamins Because, LLC and CT Health

   Solutions, LLC.




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   Date: February 10, 2022                                   Respectfully submitted,

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   Attorneys for Jolly Dollar Supply Company,       Health Solutions, LLC
   LLC




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